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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOSE HERNANDEZ, on behalf of himself and
all other employees similarly situated, Plaintiff
v.

THREE R’S, INC. AND MINDA MENOR,
individually, Defendants.


                                          COMPLAINT

       NOW COMES the Plaintiff, Jose Hernandez, individually, and on behalf of other

employees similarly situated, (hereinafter, “Plaintiff”) through counsel, pursuant to 29 U.S.C. §

201 et seq., commonly known as the Fair Labor Standards Act (hereinafter, “FLSA”), and 820

ILCS § 105/1 et seq., commonly known as the Illinois Minimum Wage Law (hereinafter

“IMWL”), and complains against Three R’s, Inc. (“3R’S”) and Minda Menor, individually

(collectively, “Defendants”) and in support of this Complaint, states:

                                        INTRODUCTION

1. This action seeks redress for Defendants’ willful violations of the Fair Labor Standards Act,

   29 U.S.C. § 201 et seq. (“FLSA”), the Illinois Minimum Wage Law, 820 ILCS § 105/1 et

   seq. (“IMWL”), Defendants’ failure to pay Plaintiff and other similarly situated employees

   overtime wages for hours worked in excess of forty (40) hours in a week.

2. Upon information and belief, Defendants have failed to keep proper time records tracking

   Plaintiff’s time worked and have failed to post a notice of rights.

3. Defendants’ unlawful compensation practices have, and have had, the effect of denying

   Plaintiff and other similarly situated Plaintiffs their earned and living wages.

4. Plaintiff’s FLSA collective action consent form is attached hereto as Exhibit A.
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                                  JURISDICTION AND VENUE

5. This Honorable Court has subject matter jurisdiction over the federal wage claims through 29

   U.S.C. § 216(b) (FLSA), 28 U.S.C. § 1331 (federal question), and 28 U.S.C. §1337 (actions

   arising under acts of Congress relating to commerce). This Honorable Court has

   supplemental jurisdiction over the Illinois wage claims through 28 U.S.C. § 1367 because

   they are so related to Plaintiff’s claim within such original jurisdiction that they form part of

   the same case or controversy under Article III of the United States Constitution.

6. Venue is properly placed in the Northern District of Illinois, Eastern Division, through 28

   U.S.C. § 1391(b), because the facts and events giving rise to Plaintiff’s claims occurred in

   this judicial district.

                                         THE PARTIES

                                             Plaintiff

7. Plaintiff resides in and is domiciled in, and was employed by Defendants in Cook County,

   which is in this judicial district.

8. During the course of his employment, Plaintiff handled goods that moved or that were

   intended to move in interstate commerce and was an “employee” as defined by the FLSA, 29

   U.S.C. §201 et seq., and the IMWL, 820 ILCS 105/1 et seq.

                                           Defendants

9. Defendant 3R’S is an entity doing business within this judicial district and is an “enterprise”

   as defined by the FLSA, 29 U.S.C. § 203(r)(1), engaged in commerce within the meaning of

   29 U.S.C. § 203(s)(1)(A).

10. Based on information and belief, Defendant 3R’S has annual gross sales of $500,000.00 or

   more.



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11. Plaintiff, and other similarly-situated employees of Defendants, handled goods which moved

   in interstate commerce.

12. Defendant 3R’S was Plaintiff’s “employer” as that term is defined by the FLSA, 29 U.S.C. §

   203(d), and the IMWL, 820 ILCS § 105/3.

13. Defendant Minda Menor is the president of 3R’S and is involved in the day-to-day business

   operations and has the authority to hire and fire employees, the authority to direct and

   supervise the work of employees, the authority to sign on the business’s checking accounts,

   including payroll accounts, and has the authority to participate in decisions regarding

   employee compensation and capital expenditures.

14. Defendant Minda Menor was Plaintiff’s “employer” as that term is defined by the FLSA, 29

   U.S.C. § 203(d), the IMWL, and 820 ILCS § 105/3.

15. On information and belief, Defendant Minda Menor resides and is domiciled in Cook

   County, Illinois.

                                            FACTS

16. Plaintiff began working for Defendants in approximately May, 2012 until May, 2015.

17. Plaintiff was employed by Defendants as a cook and dishwasher.

18. Throughout the course of Plaintiff’s employment with Defendants, and in the three (3) years

   prior to Plaintiff filing this Complaint, Defendants scheduled Plaintiff to work in excess of

   forty (40) hours per week in one or more individual work weeks.

19. Throughout the course of Plaintiff’s employment with Defendants, and in the three (3) years

   prior to Plaintiff filing this Complaint, Plaintiff did work in excess of forty (40) hours per

   week in one or more individual work weeks.




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20. In the three (3) years prior to Plaintiff filing his Complaint, other class members employed by

   Defendants also worked in excess of forty (40) hours per week in one or more individual

   work weeks.

21. Throughout the course of Plaintiff’s employment with Defendants, and in the three (3) years

   prior to Plaintiff filing this Complaint Defendants paid Plaintiff an hourly rate of $10.00 per

   hour.

22. Although Defendants scheduled Plaintiff to work in excess of forty (40) hours per week,

   Defendants did not pay Plaintiff overtime wages at a rate of one and one-half his regular

   hourly rate of pay for all hours worked in excess of forty (40) hours. Instead, Defendants

   paid Plaintiff his regular-straight time hourly rate of $10.00 per hour for all hours that

   Plaintiff worked, including hours worked in excess of forty (40) hours per week.

23. Plaintiff’s wages were not based on the number of jobs performed or completed, nor was it

   based on the quality or efficiency of his performance.

24. Neither Plaintiff nor the class members are exempt from the overtime provisions of the

   FLSA, or the IMWL.

25. Defendants failed to pay Plaintiff or the class members a rate not less than one and a half

   (1.5) times the regular rate at which they were employed when they worked over forty (40)

   hours in a given workweek.

                             COUNT I: VIOLATION OF THE FLSA
                                     Overtime Wages

26. Plaintiff re-incorporates by this reference the allegations contained in all preceding

   paragraphs of this Complaint as if fully set forth herein.

27. Plaintiff and the members of the class were directed by Defendants to work, and did so work,

   in excess of forty (40) hours per week.

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28. Defendants did not compensate Plaintiff or members of the class at a rate of at least one and

   one-half (1.5) times their regular hourly rate of pay for all hours worked in excess of forty

   (40) hours in their individual workweeks.

29. Defendants’ failure and refusal to pay overtime wages for hours worked in excess of forty

   (40) hours per week violated the FLSA.

30. Defendants’ failure and refusal to pay overtime wages for hours worked in excess of forty

   (40) hours per week was a willful violation of the FLSA.

31. Plaintiff and other similarly situated employees are entitled to recover unpaid overtime wages

   for up to three (3) years prior to the filing of this lawsuit.

WHEREFORE, Plaintiff respectfully requests that the Court:

A. Determine that this action may be maintained as a collective action pursuant to the FLSA.

B. Enter a judgment in the amount of unpaid overtime wages for all time worked by Plaintiff

   and other similarly situated employees in excess of forty (40) hours in individual work

   weeks;

C. Award liquidated damages in an amount equal to the amount of unpaid overtime wages;

D. Declare Defendants to be in violation of the FLSA;

E. Enjoin Defendants from violating the FLSA;

F. Award reasonable attorneys’ fees and costs; and

G. Grant such additional or alternative relief as this Court deems just and proper.

         COUNT II: VIOLATION OF THE ILLINOIS MINIMUM WAGE LAW
                                Overtime Wages

32. Plaintiff re-incorporates by this reference the allegations contained in all preceding

   paragraphs of this Complaint as if fully set forth herein.




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33. This Count arises from Defendants’ failure to pay Plaintiff overtime wages for all time

   worked in excess of forty (40) hours in individual work weeks in violation of the IMWL.

34. Defendants directed Plaintiff to work, and Plaintiff did work, in excess of forty (40) hours in

   individual work weeks.

35. Plaintiff was entitled to be paid overtime wages for all time worked in excess of forty (40)

   hours in individual work weeks.

36. Defendants did not pay Plaintiff overtime wages for all time worked in excess of forty (40)

   hours in individual work weeks.

37. Defendant’s violated the IMWL by failing to pay Plaintiff overtime wages for all hours

   worked in individual work weeks.

38. Pursuant to 820 ILCS 105/12(a), Plaintiff is entitled to recover unpaid wages for three (3)

   years prior to the filing of this suit.

WHEREFORE, Plaintiff respectfully request that this Honorable Court:

A. Enter a judgment in the amount of overtime wages due to Plaintiff as provided by the IMWL;

B. Award Statutory damages for Plaintiff pursuant to the formula set forth in 820 ILCS §

   105/12(a) and 815 ILCS § 205/2;

C. Declare that Defendants have violated the IMWL;

D. Enjoin Defendants from violating the IMWL;

E. Award reasonable attorneys’ fees and costs of this action as provided by the IMWL; and

F. Grant such other and further relief as this Honorable Court deems just and proper.




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Respectfully submitted,

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